Case 7:17-cr-01836 Document 1 Filed in TXSD on 11/20/17 Page 1 of 3

 

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United S’€zues of America ) yl ark

v. }
Roe§ AGUILAR-A!varez ) CHS€ NG` M“ / 7‘ 30 ??*M
(YOBZ 3992,, COB; N£€'>XiCO) §
)
Dejimdam(s}
CRI.MINAL CUMPLAINT

],, the compiainant in this case, state that the fo!§owing is true to the best G€“ my §§now§edge and beiief.

 

 

0§1 or about the da¥e(;~;) of November “E?, 2017 in Th€ GOHHTY 05 ?”55<1¥3§90 §H 333
m§ggthern __ District of lens m , the defendanz:(a} vio§aied:
Code Seczi::m ij£zme Descr¢`pz‘z`on
17 U.S.C. §§G€(a)(?)(l\) Cz§minal knfzingement of a Copyrlght
Thc~:~ Will'§ui infringement of copyrights for purposes of commercial advantage and
?8 U.S.C. § 2319(¥))(1} privai€z ?“memcia€ gain by the reproduction and d?s€ribut§on, during any zB€JJday

period, of at least 10 copies, QM or more copyrighted Works, Wh§ch have a total
retaii va§\,ze 0¥ more than $2,509.

This criminle comp§aint is based cm theme facts:
SEE "ATTACHNEENT A"

§ deciare umw pena!ty 0'§ perjury that the sta§ements in wis eompla%nt are true and correct Executed on Nr)vem§)er 13,
2037.

\/ Cominued on the attached shech

Submi'i;`ted by re§iable el€ctmnic means, Swm'n to and
attes£ed to telephonically per l;`ed. R. Cr. P. 4.1, and al Brian Yontz
py@bgble gauge found my Complainaf:t `s sigmuure

 

Br%an \"ontz, HSi TFO

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_m …wW ~~~~~~~ Judge ':,' signa¢w'€

 

City and sfate: McAli@n, Texas ?’e‘:er E. Ormsby, U.S* Magistra’ce Judge
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Case 7:17-cr-01836 Document 1 Filed in TXSD on 11/20/17 Page 2 of 3

ATTACHMENT A

l, Bria_n `{ontz, am a Tasl< Force Officer (TFO) assigned to the United States Home|and
Secunty lnvestigations (l-iSl), and have knowledge of the following facts:

1. On November 17, 2017, HS| special agents (SA) and TFOs executed`a search
Warrant at 1507 Colima Street in Dc'nna, Texas.

2. During a search of the residence and vehicles found on the property, agents
discovered over two thousand (2,000) movie digital video discs (DVDs) in plain sight
that appeared to be counterfeit reproductions Additlonally, inside the residence,
Agents observed six (6) DVD duplicator disc copier towers, several boxes containing
blank DVDs, generic DVD sleeves, and other supplies used in the reproduction of

the counterfeit movie DVDs. Agents seized the counterfeit DVDs found in the
residence and vehicles

3. Agents encountered Roel AGUlL/-\R-Alvarez at the residence and detained him for
questioning AGU|LAR-Alvarez was advised of his lVliranda warnings by l-lS| TFO
Yontz, which he statedhe understood and subsequently waived in Writing. Post~
l\/lirandal AGUlLAR-Alvarez stated that the movie DVDs found by the agents
belonged to him, as did the six (6) DVD duplicator disc copier towers in the
residence AGUll_AR-Alvarez told agents that he knew that copying movie DVDs
and selling them was against the law. AGU|LAR~Alvarez stated he Would copy
approximately four hundred (400) DVDs weekly, that is, on lVlondays, Thursdays,
and Saturdays. He also said he would sell the DVDs he had copied for $1.00 at the
Val Verde Flea lVlarket (Val Verde Road and Business 83 in Donna, Texas) on
l.i'Vednesdays1 Fridays, Saturdays, and Sundays and he estimated that he sold
approximately 300 DVDs a day. AGUILAR-A|varez further stated he had copied
approximately 400 DVDs on November 16, 2017.

4. Upon inspecting the DVDs, it was apparent that they were not commercial discs
based on their packaging but instead counterfeit movie DVDs. The packaging of the
DVDs consisted of generic DVD sleeves and the movie titles Were handwritten on
the DVDs.

5. A random sampling of the seized counterfeit DVDs includes the following movie
titles: Cars 3, Captain Underpants, Dory, Dark Tower, Allied, 50 Shades Darker, 47
l\/leters Down, Atomic Blonde, All Eyes on Nle, and American l\/lade. The retail value
for each of these movies was obtained through the Target store website -
www.target.com.

Cars 3 -.- 25 copies - $17.99 each = $449.75

Captain Underpants - 40 copies - $19.99 each = $799.60
Dory - 12 copies - $19.99 each = $239.88

Dark tower - 48 copies - $19.99 each = $959.52

Alliecl - 11 copies - $13.00 each = $143.00

50 Shades Darker - 10 copies - $13.00 each = $130.00

Case 7:17-cr-01836 Document 1 Filed in TXSD on 11/20/17 Page 3 of 3

' 47 l\/leters Down - 21 copies - $14.99 each = $314.79

Atomic Blonde - 24 copies - $19.99 each = $479.76

A|l Eyes on Nie - 23 copies- $14.99 each = $344.77

American Nlade - 50 copies - $19.99 each = $999.50

The total retail value for the above-described movie DVDs is $4,860.57.

. Rotten Tomatoes is a well~known review aggregation website for film and television
According to their website, www.rottentomatoes.com, “American Nlade” was wide-

released in theaters on September 29, 2017, and is not scheduled for DVD release
until January 9, 2018.

